             Case 2:11-cr-00429-JAM Document 116 Filed 01/07/13 Page 1 of 3




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8                          IN THE UNITED STATES DISTRICT COURT
9                             EASTERN DISTRICT OF CALIFORNIA
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                                               )
11   UNITED STATES OF AMERICA,                 )   CASE NO. 2:11-CR-00429 KJM
                                               )
12                      Plaintiff,             )
                                               )
13   v.                                        )   STIPULATION AND ORDER
                                               )   CONTINUING SENTENCING
14   ANTHONY VINCENT ZITO,                     )
                                               )   Date: January 9, 2013
15                      Defendant.             )   Time: 9:00 a.m.
                                               )   Court: Hon. John A. Mendez
16                                             )
17

18         The parties request that the sentencing hearing set for Wednesday, January 9,
19   2013, at 9:00 a.m.1, be continued to Tuesday, June 25, 2013, at 9:45 a.m. The defendant
20   has pleaded guilty and is cooperating with the United States in its ongoing investigation
21   and prosecution of this case. The continuance is necessary in order to allow the defendant
22   to continue his cooperation, and for the United States to be able to provide a reasoned
23   sentencing recommendation based upon all of the relevant factors in this case, including
24   the defendant’s cooperation.
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27   1
      This matter was originally set on Judge Mueller’s calendar. Pursuant to the Court’s
     order, see C.R. 79, the case was been reassigned and all previously scheduled dates
28   vacated.
             Case 2:11-cr-00429-JAM Document 116 Filed 01/07/13 Page 2 of 3


1          In addition, a presentence report has not yet been completed by the United States
2    Probation Office.
3          IT IS SO STIPULATED.
4     DATED: January 4, 2013                           Respectfully Submitted,
5                                                      BENJAMIN B. WAGNER
                                                       United States Attorney
6

7                                            By:       /s/ Kyle Reardon
                                                       KYLE REARDON
8                                                      MATTHEW MORRIS
                                                       Assistant U.S. Attorney
9
                                                       Attorneys for Plaintiff
10                                                     UNITED STATES OF AMERICA
11
      DATED: January 4, 2013                           /s/ Kyle Reardon for
12                                                     JIM HENDERSON, Sr.
                                                       Attorney for Defendant
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                                                                      Stipulation and Proposed Order
                                                   2                             United States v. Zito
                                                                                      2:11-0429 KJM
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8                          IN THE UNITED STATES DISTRICT COURT
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11   UNITED STATES OF AMERICA,                 )   CASE NO. 2:11-CR-00429 KJM
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12                      Plaintiff,             )
                                               )
13   v.                                        )   ORDER CONTINUING SENTENCING
                                               )
14   ANTHONY VINCENT ZITO,                     )
                                               )   Date: January 9, 2013
15                      Defendant.             )   Time: 9:00 a.m.
                                               )   Court: Hon. John A. Mendez
16                                             )
17

18         For the reasons stated in the parties’ stipulation and proposed order, the request to
19   continue the sentencing hearing set for January 9, 2013, until June 25, 2013, is granted.
20         IT IS SO ORDERED.
21    DATED: 1/7/2013
                                                   JOHN A. MENDEZ
22                                                 United States District Court Judge
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